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13
     Attorneys for Plaintiff and the alleged Class

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15
                                               THE UNITED STATES DISTRICT COURT
16
                    CENTRAL DISTRICT OF CALIFORNIA- SOUTHERN DIVISION
17

18   MARIANO BENITEZ, individually and )                          Case No.: 8:19-cv-00098
     on behalf of others similarly situated, )
19
                                             )
20                         Plaintiff,        )                    STIPULATION CONTINUING
                                             )                    DEADLINE FOR DEFENDANT TO
21
          vs.                                )                    FILE RESPONSE TO COMPLAINT
22                                           )                    AND STIPULATION
     POWERLINE FUNDING LLC, a New )                               CONTINUING DATE TO FILE
23
     York limited liability company,         )                    MOTION FOR CLASS
24                                           )                    CERTIFICATION
                        Defendant            )
25
                                             )
26                                           )
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28
     {Benit ez v. Power line Fund ing, LLC.)                -1-         STIPULATION CONTINUING DEADLINE FOR
                                                                     DEFENDANT TO FILE A RESPONSE & FILING OF
                                                                              MOTION FOR CLASS CERTIFICATION
                                                                                         CASE NO: 8:19-cv-00098
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     TO THE HONORABLE COURT:
 1

 2               WHEREAS on January 21, 2019, MARIANO BENITEZ (“Plaintiff’), filed
 3   a purported Class Action Complaint (the “Complaint”) against POWERLINE
 4   FUNDING LLC (“Defendant”);
 5               WHEREAS Defendant was served on January 24, 2019;
 6               WHEREAS on February 7, 2019, the parties, through their respective
 7
     counsel, entertained the possibility of an early resolution to this matter and as
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 9
     such agreed Defendant may be provided an additional twenty one (21) days to

10   file its response thereby advancing Defendant’s response date to the Complaint
11
     through March 7, 2019.
12

13
                 WHEREAS, under Local Rule 23, Plaintiff must file his Motion for Class

14   Certification within 90 days of service of the Complaint, placing Plaintiff’s
15
     current deadline as April 24, 2019. No discovery has begun in the case, which
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     Plaintiff will require to sufficiently file a Motion for Class Certification. Thus,

18   the Parties request that the Court continue the deadline for Plaintiff to move for
19
     class certification at this time. When the Parties file a Case Management
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21   Statement, the Parties will set forth their positions with respect to the case

22   schedule, including the date of the filing of a Motion for Class Certification.
23
                 IT IS HEREBY STIPULATED by and between the Parties, through their
24

25   respective counsel of record, that the date for Defendant to file its response to the
26   Complaint shall be set to March 7, 2019 and that the Parties be allowed to
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28
     {Benit ez v. Power line Fund ing, LLC.)   -2-         STIPULATION CONTINUING DEADLINE FOR
                                                        DEFENDANT TO FILE A RESPONSE & FILING OF
                                                                 MOTION FOR CLASS CERTIFICATION
                                                                            CASE NO: 8:19-cv-00098
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     provide a date of the filing of a Motion for Class Certification upon their filing of
 1

 2   the Case Management Statement.
 3
                       The Signatories hereto have authorized the filing of this stipulation
 4

 5
     pursuant to Local Rule 5-4.3.4

 6

 7   DATED: February 14, 2019                             THE AFTERGOOD LAW FIRM
 8
                                                          By: /s/ Aaron D. Aftergood
 9                                                            Aaron D. Aftergood, Esq.
10
                                                              Attorneys for Plaintiff
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13
     DATED: February 14, 2019                             GREENSPOON MARDER LLP
14

15                                                        By: /s/ Neil Thakor
                                                              Neil Thakor, Esq.
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     {Benit ez v. Power line Fund ing, LLC.)        -3-            STIPULATION CONTINUING DEADLINE FOR
                                                                DEFENDANT TO FILE A RESPONSE & FILING OF
                                                                         MOTION FOR CLASS CERTIFICATION
                                                                                    CASE NO: 8:19-cv-00098
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                                                 ATTESTATION
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 2
                 Pursuant to Local Rule 5.4.3.4, I hereby certify that the content of this document
 3
     is acceptable to the counsel for Plaintiff, and that I have obtained his authorization to
 4
     affix his electronic signature to this document.
 5

 6   DATED: February 14, 2019                            Greenspoon Marder, LLP
 7
                                                         By: /s/ Neil Thakor
 8                                                           Neil Thakor
                                                             Attorneys for Defendant
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     {Benit ez v. Power line Fund ing, LLC.)       -4-            STIPULATION CONTINUING DEADLINE FOR
                                                               DEFENDANT TO FILE A RESPONSE & FILING OF
                                                                        MOTION FOR CLASS CERTIFICATION
                                                                                   CASE NO: 8:19-cv-00098
